
MEMORANDUM **
Francisco Orejel-Garcia, a native and citizen of Mexico, petitions for review of the Board of Immigration Appeals’ (“BIA”) order denying his motion to reopen removal proceedings. We have jurisdiction pursuant to 8 U.S.C. § 1252. We review for abuse of discretion the denial of a motion to reopen, and review de novo questions of law, including claims of due process violations due to ineffective assistance of counsel. Mohammed v. Gonzales, 400 F.3d 785, 791-92 (9th Cir.2005). We deny the petition for review.
We agree with the BIA that Orejel-Garcia’s motion failed to demonstrate that the performance by former counsel resulted in prejudice. See Rojas-Garcia v. Ashcroft, 339 F.3d 814, 826-27 (9th Cir.2003) (no prejudice where motion failed to present plausible grounds for relief). We reject Orejel-Garcia’s contention that the BIA utilized an improper standard in its prejudice determination. See id.
To the extent Orejel-Garcia contends that the BIA failed to consider some of the evidence he submitted with the motion to reopen, he has not overcome the presumption that the BIA did review the record. See Fernandez v. Gonzales, 439 F.3d 592, 603 (9th Cir.2006).
PETITION FOR REVIEW DENIED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9 th Cir. R. 36-3.

